
PER CURIAM.
11 Denied. Relator fails to show that R.S. 14:95.1 is unconstitutional as applied to him. See State v. Eberhardt, 13-2306 (La.7/1/14), 145 So.3d 377. Additionally, relator does not demonstrate he was denied the effective assistance of counsel during plea negotiations under the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).
*982Relator has now. fully litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.O. § 2244, Louisiana post-conviction procedure envisions the- filing of a second or successive application only under the narrow circumstances provided in La.G.Or.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P, art. 930.8. Notably, the ¡Legislature in 2013 La. Acts 251 amended, that article to.make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with LaO.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
